 

Case 7:17-cr-01842 Document 1 Filed in TXSD on 11/09/17 Page 1 of 2
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Ao 91 (Rev. 11/11) Criminal complaint s°£!€i©m fig t §§ gm
UNITED STATES DISTRICT CoURT"'f»’V 09 2017

 

 

 

for the

SOUTHERN DISTRICT OF TEXAS %m°fc°m

United States of America )

v. )
) Case No. - /1 »-‘ %DQ_S- W\

VILLARREAL, ISaac (USC) § M k
)
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of 1 1 / 8 / 2 0 1 7 in the county of Starr in the
Southern District of T€XaS , the defendant(s) violated:

Code Section O#ense Description
21 USC 841 (a) (1) Possession with intent to distribute and
21 USC 846 Conspiracy to Possess with Intent to

Distribute marijuana, approximately 92.5
kilograms, a Schedule l controlled
Substance.

This criminal complaint is based on these facts:

(See Attachment I).

Continued on the attached sheet.

 

pl ant's signature

Leonel E. R a, DEA Special Agent
Printed name and title

Dater 11/9/2017 U@M %€/'W

Judge 's signature

 

 

CHyandSUH€ McAllen, TX Dorina Ramos , US Magistrate Judge
Prz`nted name and title

 

 

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A`lTACHl\/lENT |

On November 8, 2017, at approximately 7:20 P.M., Border Patrol Agents were advised by the
Texas Nationa| Guard observation post of the observation of 9 subjects crossing the Rio Grande
River by raft in the vicinity of Escobares, Texas with what appeared to be bundles of narcotics.

Border Patro| Agents conducted surveillance north of the "Burnt Down House" in the vicinity of
Escobares, Texas and observed a single cab black GMC pickup truck parked near the residence
west of the "Burnt Down House." Agents observed multiple subjects emerge from the open lot
of the "Burnt Down House" carrying what appeared to be bundles of narcotics. Border Patrol
Agents walked towards the black GMC pickup truck and observed one subject throw one
bundle of suspected narcotics into the bed of the GMC pickup truck. As a Border Patro| Agent
approached the driver side door and illuminated the vehicle with his flashlight, identifying
himself as a Border Patrol Agent he observed a male occupant later identified as |saac
V|LLARREAL sitting in the driver seat of the vehicle. Border Patrol Agents then observed the
vehicle flee at a high rate of speed traveling eastbound on 4th St. towards Lopez St. with one
bundle in the bed of the truck. Border Patro| Agent Lujano observed the additional subjects
drop the bundles near the location of the vehicle and Texas National Guard advised from their
observation post that 9 subjects were traveling south by raft back to l\/lexico.

Border Patro| Agent Tovar observed mentioned vehicle traveling north on an ally way but was
unable to maintain visual. A few moments later, Border Patro| Agent Nathan Kast observed
the mentioned vehicle close to U.S. Highway 83 west of Lopez St. near the Escobares Flea
Market and conducted a traffic stop. A search of the area of where the mentioned vehicle was
encountered resulted in the discovery of one bundle of suspected marijuana.

lsaac Villarreal was taken into custody and all the bundles were transported to the Rio Grande
City Texas Border Patrol Station for processing. The total weight of the bundles of marijuana
that were located was 92.5 kilograms.

On the same date, DEA Agents Leone| E. Reyna and Erik Lambel responded to the Rio Grande
City Border Patrol Station. Agents read Mr. V|LLARREAL his Miranda Warnings in English and
asked if he would provide a statement. Mr. V|LLARREAL stated he did not provide a statement.

